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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GIANNI VERSACE, S.P.A.,
                                                      Case No. 18-cv-06412
                      Plaintiff,
                                                      Judge Edmond E. Chang
       v.
                                                      Magistrate Judge Maria Valdez
ZHAO DEQUN, et al.,

                      Defendants.


                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on November 20, 2018 [47], in

favor of Plaintiff Gianni Versace, S.p.A. (“Plaintiff” or “Versace”) and against the Defendants

Identified in Schedule A in the amount of one hundred and fifty thousand dollars ($150,000) per

Defaulting Defendant for willful use of counterfeit Versace Trademarks in connection with the

offer for sale and/or sale of products through at least the Defendant Internet Stores, and Versace

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendant:

              Defendant Name                                         Line No.
               Benyou Store                                            299

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 20th day of September 2019.   Respectfully submitted,


                                         /s/ Justin R. Gaudio_____
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                                         Justin R. Gaudio
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